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                         Nevada State Bar No. 9291
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                         Tel: (702) 921-2460
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                     5   Attorneys for Defendants
                         Customer Connexx, LLC and ARCA, Inc.
                     6
                     7                                UNITED STATES DISTRICT COURT

                     8                                      DISTRICT OF NEVADA

                     9    DANIELLE CURLEY, on behalf of herself              Case No. _____________
                          and all others similarly situated
                10
                                        Plaintiff,
                11
                                 vs.                                         DEFENDANTS’ NOTICE OF
                12                                                           REMOVAL OF CIVIL ACTION
                          CUSTOMER CONNEXX LLC; ARCA,                        FROM STATE COURT
                13        INC.; and DOES 1 through 50, inclusive,

                14                      Defendants.

                15              Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants Customer Connexx, LLC and ARCA,

                16       Inc. (“Defendants”), file this Notice of Removal of Civil Action from State Court. Removal is

                17       proper based on the following grounds:

                18              1.     On January 3, 2018, Plaintiff Danielle Curley, initiated a civil action captioned

                19       Danielle Curley v. Customer Connexx LLC, et al., Civil Action No. A-18-767155-C, in the Eighth

                20       Judicial District Court of Clark County, Nevada (“State Court Action”).

                21              2.     The Complaint in the State Court Action alleges six causes of action, including one

                22       cause of action brought under the Fair Labor Standards Act, 29 U.S.C. § 207 (“FLSA”).

                23              3.     Defendant Customer Connexx, LLC was served a copy of the Summons and

                24       Complaint on January 19, 2018. Defendant ARCA, Inc. was served a copy of the Summons and

                25       Complaint on January 23, 2018. True and correct copies of the Summons and Complaint are

                26       attached hereto as Exhibit A. These documents constitute all pleadings and process provided to

                27       Defendants from the State Court Action.

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                     1          4.      This Notice of Removal is being filed within thirty (30) days of receipt of service

                     2   and is timely under 28 U.S.C. § 1446(b).

                     3          5.      Defendants have not filed an Answer or any other pleadings in the State Court

                     4   Action. Both Defendants consent to removal.

                     5          6.      This Court has original jurisdiction of this action pursuant to 28 U.S.C. § 1331, as

                     6   the Complaint alleges claims under the laws of the United States – specifically the FLSA.

                     7   Accordingly, the Complaint establishes on its face that this matter is removable to this Court under

                     8   the Court’s federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1441(a).

                     9          7.      The Court has supplemental jurisdiction over Plaintiff’s remaining state law claims

                10       pursuant to 28 U.S.C. § 1367. Plaintiff’s state law claims stem from the same facts alleged to

                11       support her federal law claim. Specifically, Plaintiff alleges that Defendants failed to pay Plaintiff

                12       for certain pre-shift and post-shift activities (e.g. booting up computer and shutting down computer)

                13       that were allegedly performed off the clock. These allegations regarding pre-shift and post-shift

                14       activities form the factual basis of the FLSA claim and each of the five state law claims. (See

                15       Compl. ¶¶ 15-16, 27, 33, 38, 45, 53, 59.) Accordingly, Plaintiff’s state law claims are inextricably

                16       intertwined with Plaintiff’s federal claims, and the Court should exercise its supplemental

                17       jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

                18              8.      Venue is proper in this Court as it is the district and division embracing the place

                19       where the State Court Action is pending.

                20              9.      Defendants submit this Notice of Removal without waiving any defenses to the

                21       claims asserted by Plaintiff and without conceding that Plaintiff has alleged claims upon which

                22       relief may be granted.

                23              10.     This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of Civil

                24       Procedure.

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    Las Vegas
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                     1          11.     A copy of this Notice of Removal has been served upon Plaintiff and will be

                     2   promptly filed with the Clerk of Court for the District Court of Clark County, Nevada.

                     3          WHEREFORE, Defendants pray that the above referenced action, now pending in the

                     4   Eighth Judicial District Court of the State of Nevada in and for the County of Clark, be removed

                     5   therefrom to this Court.

                     6          Respectfully submitted this 8th day of February, 2018.

                     7                                                       JACKSON LEWIS P.C.

                     8
                                                                               /s/ Paul T. Trimmer
                     9                                                       Paul T. Trimmer, Bar No. 9291
                                                                             3800 Howard Hughes Pkwy., Suite 600
                10                                                           Las Vegas, Nevada 89169

                11                                                           Attorneys for Defendants
                                                                             Customer Connexx, LLC and ARCA, Inc.
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                     1                                   CERTIFICATE OF SERVICE

                     2          I HEREBY CERTIFY that I am an employee of Jackson Lewis P.C., and that on this 8th

                     3   day of February, 2018, I caused to be served via the Court's CM/ECF Filing, a true and correct copy

                     4   of the above foregoing DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION

                     5   FROM STATE COURT properly addressed to the following:

                     6   Mark R. Theirman, Esq.
                         Joshua D. Buck, Esq.
                     7   Leah L. Jones, Esq.
                         THIERMAN BUCK LLP
                     8   7287 Lakeside Drive
                         Reno, NV 89511
                     9
                         Attorneys for Plaintiff Danielle Curley
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                11                                                                 /s/ Emily Santiago
                                                                             Employee of Jackson Lewis P.C.
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Jackson Lewis P.C.
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    Las Vegas
